289 F.2d 314
    Robert CAREY and Linda Carey, minors, by their parents and natural guardians, Merle G. Carey and Helen J. Carey, and Merle G. Carey in his own right,v.Benjamin DANECKI, Appellant,v.Merle G. CAREY.
    No. 13426.
    United States Court of Appeals Third Circuit.
    Argued February 24, 1961.
    Decided April 25, 1961.
    
      James A. McGregor, Pittsburgh, Pa., for appellant.
      No oral argument for appellee.
      Robert E. Wayman, Dickie, McCamey, Chilcote &amp; Robinson, Pittsburgh, Pa., for third-party defendant.
      Before KALODNER, STALEY and FORMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      In this diversity action for damages arising out of an automobile collision, the defendant and third-party plaintiff, Benjamin Danecki, joined the plaintiff, Merle G. Carey as a third-party defendant. Carey subsequently filed an amended answer in which he pleaded as a bar to Danecki's third-party action against him, a release executed prior to the institution of the instant suit. The District Court granted Carey's motion for judgment on the pleadings and this appeal followed.
    
    
      2
      The record discloses that the District Court did not, in accordance with Rule 54(b) of the Federal Rules of Civil Procedure, 28 U.S.C.A. make an express determination that there was no just reason for delay.
    
    
      3
      Under the circumstances the appeal must be dismissed as being from an interlocutory order and it is so ordered.
    
    